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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE ETHIOPIAN AIRLINES FLIGHT
ET 302 CRASH                                            In re: Ethiopian Airlines Flight ET 302
                                                        Crash
Plaintiffs,
                                                        Lead Case: 1:19-cv-02170
        v.
                                                        Hon. Jorge L. Alonso
THE BOEING COMPANY, a Delaware
corporation;                                            This Filing Relates to All Actions
ROSEMOUNT AEROSPACE, INC., a
Delaware corporation;
ROCKWELL COLLINS, INC., a Delaware
corporation,

        Defendants.



             DEFENDANT THE BOEING COMPANY’S OMNIBUS RESPONSE TO
               NOTICES OF ADOPTION AND SHORT FORM COMPLAINTS

        Defendant The Boeing Company (“Boeing”), by and through its attorneys of record,

Perkins Coie LLP and Winston & Strawn LLP, hereby submits this response to the Plaintiffs’

various Notices of Adoption of the Master Complaint and the Short Form Complaints filed with

Notices of Adoption of the Master Complaint. This response applies to each Notice of Adoption

and Short Form Complaint (the “Notices”) filed in or consolidated with the above-captioned

action, and it incorporates Boeing’s Answer and Affirmative Defenses to the Plaintiffs’ Master

Complaint, as well as any amendments or additions thereto.

        The various Notices contain 9 paragraphs, subparts of which differ slightly from Notice to

Notice. Boeing’s responses to these paragraphs are as follows:

        A.      Incorporation Paragraphs. The first four paragraphs introduce the Plaintiffs; state

that they incorporate the allegations and any amendments to the Master Complaint filed in this

action; identifies (where applicable) any paragraphs in the Master Complaint that the Plaintiffs do

not wish to adopt; enumerates the entities the Plaintiffs are stating claims against (Boeing,

Rosemount, and/or Rockwell Collins); and enumerates the counts in the Master Complaint that the
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Plaintiffs are adopting. To the extent a response is required, Boeing responds to these Paragraphs

in each Notice as follows:

       Boeing incorporates its responses to the counts for relief provided in its Answer and

Affirmative Defenses to the Master Complaint as if set forth fully herein. Boeing lacks knowledge

or information sufficient to form a belief as to the truth of the allegations regarding the individual

Plaintiffs’ or Decedent(s)’ identities and therefore denies them. Boeing denies that Plaintiffs are

entitled to any relief from Boeing for any additional counts for relief included within these

paragraphs where those counts are not stated within the Master Complaint. Boeing denies any

remaining allegations contained within these Incorporation Paragraphs.

       B.      Demographic Paragraphs. The next four paragraphs allege demographic

information about the Plaintiffs and the Decedent. To the extent a response is required, Boeing

responds to these Paragraphs in each Notice as follows:

       Boeing lacks knowledge or information sufficient to form a belief as to the truth of these

allegations and therefore denies them.

       C.      Damages Paragraphs. The next paragraph contains the Plaintiffs’ selections of the

types of damages they claim they are entitled to from the defendants they have asserted claims

against. This paragraph corresponds to the allegations in the Paragraphs A through M of the Master

Complaint’s section VI. To the extent a response is required, Boeing responds to the Damages

Paragraphs in each Notice as follows:

       Boeing incorporates its response to those Paragraphs in its Answer and Affirmative

Defenses to the Master Complaint as it set forth fully herein. Boeing denies any remaining

allegations contained within the Damages Paragraphs.

       D.      Additional Allegations Paragraphs. The last section of the Notices allows

Plaintiffs to provide additional allegations in support of their claims. All of the additional

allegations filed to date assert additional facts about the Plaintiffs or the Decedent. To the extent a

response is required, Boeing responds to the Additional Allegations Paragraphs as follows:
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       Boeing lacks knowledge or information sufficient to form a belief as to the truth of these

allegations and therefore denies them.

       E.        Jury Trial Demands. The Notices close with demands for a trial by jury on the

Plaintiffs’ claims, which Boeing has also demanded.




  DATED: February 14, 2020.                  THE BOEING COMPANY


                                             By: /s/ Christopher M. Ledford
                                                One of its Attorneys



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                                     Attorneys for Defendant
                                      The Boeing Company
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                                 CERTIFICATE OF SERVICE

        I, Christopher M. Ledford, certify that on February 14, 2020, I electronically filed the
foregoing DEFENDANT THE BOEING COMPANY’S OMNIBUS RESPONSE TO
NOTICES OF ADOPTION AND SHORT FORM COMPLAINTS with the Clerk of the Court
using the CM/ECF system, which will send notification of such filing to attorneys of record.

                         Robert A. Clifford
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I certify under penalty of perjury that the foregoing is true and correct.

DATED this 14th day of February 2020.


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